89 F.3d 828
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Trible Lee JONES, III, Plaintiff--Appellant,v.J.M. JABE, Warden of the Greensville Correctional Center;C. Blunt, Captain;  A. Hicks, Lieutenant;  L.Mcinnie;  C. Mizzell, Officer,Defendants--Appellees.
    No. 96-6459.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 20, 1996.Decided July 2, 1996.
    
      Trible Lee Jones, III, Appellant Pro Se.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. § 1983 (1988) complaint.   The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.   Finding no abuse of discretion, we affirm the district court's order.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    